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               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE SIXTH CIRCUIT


 MACKINAC CENTER FOR
 PUBLIC POLICY, et al.,

 Plaintiffs-Appellants,

 v.

 MIGUEL CARDONA, Secretary of                     CASE NO: 23-1736
 Education, et al.,

 Defendants-Appellees.




              CONSENT MOTION FOR A 21-DAY EXTENSION
                   OF TIME TO FILE REPLY BRIEF

        Pursuant to Fed. R. App. P. 26 & 27, and Circuit Rule 26, Plaintiffs-Appellants

respectfully request a 21-day extension of time, to and including January 11, 2024,

within which to file their reply brief in this case. Defendants-Appellees filed their

responsive brief on November 30, 2023, after obtaining an extension with Plaintiffs-

Appellants’ consent. Plaintiffs-Appellants’ reply brief is currently due on December 21,

2023.

        The consented-to extension of the due date for Defendants-Appellees’

responsive brief resulted in Plaintiffs-Appellants’ reply brief being due in the middle of

pre-planned, Christmas-related vacations by Plaintiffs-Appellants’ counsel with
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responsibility for this matter. The requested extension is necessary to ensure adequate

time for counsel to prepare and file the reply brief.

      Undersigned counsel consulted with counsel for Defendants-Appellees, who

stated that Defendants-Appellees consent to this request. The requested extension

would put the due date of Plaintiffs-Appellants’ reply brief on January 11, 2024.



                                  Respectfully Submitted,

                                  /s/ Sheng Li
                                  Sheng Li
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                                  Counsel for Plaintiffs-Appellants
December 5, 2023
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                      CERTIFICATE OF COMPLIANCE

      I hereby certify that this motion complies with the word limit of Federal Rule of

Appellate Procedure 27(d)(2)(A) because it contains 145 words, excluding the parts of

the motion exempted by Federal Rule of Appellate Procedure 32(f). I further certify

that this motion complies with the typeface and type-style requirements of Federal

Rules of Appellate Procedure 27(d)(1)(E), 32(a)(5), and 32(a)(6) because it has been

prepared using Microsoft Word 2016 in a proportionally spaced typeface, 14-point

Garamond font.

                                                     /s/ Sheng Li




                         CERTIFICATE OF SERVICE

      I hereby certify that on December 5, 2024, I electronically filed the foregoing

with the Clerk of the Court by using the appellate CM/ECF system. Participants in the

case are registered CM/ECF users, and service will be accomplished by the appellate

CM/ECF system.


                                                     /s/Sheng Li_
